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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS                            THOMAS G. BRUTON
                              EASTERI\ DIVISION                                   CLERK, U.S. DISTRICT COURT


FEDERAL TRADE COMMISSION,

              Plaintifl
                                                            Case No. l4-cv-1239
              v.
                                                            Judge Milton I. Shadur
CPATANK, INC., an Illinois corporation,

VITO GLAZERS, individually and as an officer
of CPATank,Inc.,

EAGLE WEB ASSETS,INC., an Illinois
Corporation, and

RYAN EAGLE, individually and as an officer of
Eagle Web Assets, Inc.,

              Defendants.



       IPROPOSED] ORDER LIFTING PARTIAL SUSPENSION OF JUDGMENT

       The PlaintiffFederal Trade Commission's Motion to Lift Partial Suspension of Judgment

is now before the Court. On review of the parties' memoranda and supporting evidence, the

Court finds as follows and GRANTS the Plaintiff s motion.

       The Federal Trade Commission ("FTC" or "Commission') agreed to suspend all but

$20,000 ofthe $200,000 monetary judgment due from Defendants CPATank, lnc. and Vito

Glazers under the Stipulated Final Judgment and Order for Permanent Injunction and Other

Equitable Relief ("Stipulated Judgment"). Dkt. 8 at l0-14. That agreement was "expressly

premised upon the truthfulness, accuracy, and completeness" of financial representations made

to the FTC by those Defendants. Id. at 13.
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         Pursuant to Section III.I of the Stipulated Judgment, the Court will, upon motion of the

Commission, lift the suspension of the judgment against Defendant Vito Glazers if "the Court

finds that such Defendant[] failed to disclose any material asset, materially misstated the value of

any asset, or made any other material misstatement or omission" in his financial representations.

Upon lifting the suspension, the full amount of the judgment against that Defendant is

immediately due, less the amount already paid and plus interest accruing from February 25,

2014.

         Defendant Vito Glazers failed to disclose material assets, materially misstated the value

of assets, and made other material misrepresentations and omissions in his financial

representations to the Commission.

         THEREFORE, the Court hereby GRANTS the Federal Trade Commission's motion and

LIFTS THE PARTIAL SUSPENSION OF THE MONETARY JUDGMENT as to Defendant

Vito Glazers. The Court further hereby ORDERS that the previously entered judgment in favor

of the FTC against Defendant Vito Glazers is now due and may be executed on.




SO ORDERED.




Dated:
                                               United States Dishict Judge
